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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                            No. 19-191V
                                        (not to be published)


    CURTIS DEVLIN,
                                                                Chief Special Master Corcoran
                          Petitioner,
    v.                                                          Filed: December 4, 2020


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


Anne Carrion Toale, Maglio Christopher & Toale, PA, Sarasota, FL, for Petitioner.

Christine Mary Becer, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

       On February 1, 2019, Curtis Devlin filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleged that he suffered Guillain-Barré syndrome casually
related to the influenza and pneumonia 3 vaccinations he received on December 20, 2017.


1
   Because this unpublished Decision contains a reasoned explanation f or the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If , upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section ref erences to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
3
 Petitioner’s vaccine record indicates he received the Prevnar 13 vaccine, a pneumococcal conjugate
vaccine, which is also covered under the Vaccine Program. Ex. 1 at 2; see Bundy v. Sec’y, Health & Human
Servs., No. 12-769V, 2014 WL 348852, at *1 (Fed. Cl. Spec. Mstr. Jan. 8, 2014).
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(Petition at 1). On August 7, 2020, a decision was issued awarding compensation to
Petitioner in the amount of $180,000.00. (ECF No. 40).

        Petitioner has now filed a motion for attorney’s fees and costs, dated November 9,
2020, (ECF No. 46), requesting a total award of $45,182.13 4 (representing $43,860.40 in
fees and $1,321.73 in costs). In accordance with General Order #9 Petitioner filed a
signed statement indicating that he incurred no out-of-pocket expenses. (ECF No. 46-3).
Respondent reacted to the motion on November 18, 2020 indicating that he is satisfied
that the statutory requirements for an award of attorney’s fees and costs are met in this
case and defers to the Court’s discretion to determine the amount to be awarded.
Petitioner did not file a reply thereafter.

       I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. §
15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorney’s fees and costs. I
award a total of $45,182.13 (representing $43,860.40 in fees and $1,321.71 in costs) as
a lump sum in the form of a check jointly payable to Petitioner and Petitioner’s counsel.
In the absence of a timely-filed motion for review (see Appendix B to the Rules of the
Court), the Clerk shall enter judgment in accordance with this decision. 5

IT IS SO ORDERED.

                                                         s/Brian H. Corcoran
                                                         Brian H. Corcoran
                                                         Chief Special Master




4
 Petitioner’s motion reflects an incorrect total amount of $43,182.13. (ECF No. 46 at 2). The f ee and
costs invoice total the amount of $45,182.13.
5
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by f iling a joint notice
renouncing their right to seek review.
                                                    2
